                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,

        v.                                        Case No. 20-03031-13-CR-S-SRB

 GARY L. SNEED,

                               Defendant.

                  MOTION OF THE UNITED STATES FOR PRETRIAL
                   DETENTION HEARING PURSUANT TO TITLE 18,
                      UNITED STATES CODE, SECTION 3142(f)

       The United States of America, by the United States Attorney for the Western District of

Missouri, hereby moves the Court to order a pretrial detention hearing pursuant to 18 U.S.C.

§ 3142(f), for the purpose of presenting evidence to determine whether any condition or

combination of conditions of release will reasonably assure the defendant’s appearance as required

by the Court and the safety of other persons and the community. As grounds for the motion, the

United States submits that:

       1.      There is probable cause to believe that the defendant committed the following
               offenses: (1) conspiracy to distribute 500 grams or more of a mixture or substance
               containing a detectable amount of methamphetamine, in violation of 21 U.S.C.
               §§ 846 and 841(a)(1) and (b)(1)(A); (2) distribution of any amount of a mixture or
               substance containing a detectable amount of methamphetamine, in violation of 21
               U.S.C. § 841(a)(1) and (b)(1)(C); (3) distribution of any amount of a mixture or
               substance containing a detectable amount of methamphetamine, in violation of 21
               U.S.C. § 841(a)(1) and (b)(1)(C); and (4) possession of firearms by a prohibited
               person, in violation of 18 U.S.C. §§ 922(g)(3) and 924(a)(2);

       2.      The defendant poses a risk to the safety of others in the community; and

       3.      The defendant poses a serious risk to flee.
                                 SUPPORTING SUGGESTIONS

       Subsection 3142(f)(1)(C), of Title 18, United States Code provides that a hearing must be

held by the appropriate judicial officer to determine whether any condition or combination of

conditions will reasonably assure the defendant’s appearance and the safety of any other person in

the community if the attorney for the government moves for such a hearing and if the case involves

an offense under the Controlled Substances Act (21 U.S.C. § 801, et seq.) for which imprisonment

for 10 years or more is possible. In this case, the defendant is charged with conspiracy to distribute

500 grams or more of methamphetamine, a crime for which a term of not less than 10 years and

not more than life in prison is possible.

       Section 3142(e) and (f)(1) provide a presumption that a defendant will not appear for

subsequent court appearances that arise if the offense is one enumerated under the Controlled

Substance Act as referred to above. Under the Bail Reform Act there is also a presumption that

the likelihood of flight increases with the severity of the charges, the strength of the government’s

case, and the penalty which conviction could bring. See United States v. Apker, 964 F.2d 724, 744

(8th Cir. 1992); see also United States v. Soto Rivera, 581 F.Supp. 561 (D.C. Puerto Rico 1984);

United States v. Menster, 481 F.Supp. 1117 (D.C. Fla. 1979). Accordingly, the Government

suggests that upon a showing that there exists probable cause that the defendant committed the

offenses referred to in the Indictment, there is a legal presumption, subject to rebuttal by the

defendant, that no condition or combination of conditions will reasonably assure his appearance

or the safety of the community. See Apker, 964 F.2d at 743-44; United States v. Dorsey, 852 F.2d

1068, 1069-70 (8th Cir. 1988).




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       To further support the Government’s contention that the defendant is a flight risk and a

danger to the safety of the community, the Government offers that:

       1. During this investigation, the defendant utilized his status as an individual with no
          felony convictions to purchase multiple firearms, including at least an FN SCAR rifle,
          an AK-47 rifle, and a Five SeveN 5.7 caliber semi-automatic pistol, which he then
          admittedly transferred to a co-defendant in exchange for distributive amounts of
          methamphetamine.

       2. In January 2020, the defendant possessed a stolen firearm and a user amount of
          methamphetamine during a traffic stop.

       3. On or about August 5, 2020, the defendant distributed approximately one quarter ounce
          of methamphetamine to a confidential source working at the direction of law
          enforcement.

       4. On or about August 10, 2020, the defendant distributed approximately one sixteenth
          ounce of methamphetamine to a confidential source working at the direction of law
          enforcement.

       5. On or about October 27, 2020, the defendant, an admitted daily user of
          methamphetamine, possessed two 12-gauge shotguns. During a post-Miranda
          interview, the defendant admitted to purchasing ounce, half-pound, and pound level
          quantities of methamphetamine from a co-defendant beginning at least as early as
          August 2019.

       For the reasons set forth above, the United States requests that a detention hearing be held

and that the defendant be denied bail.

                                                      Respectfully submitted,

                                                      TERESA A. MOORE
                                                      Acting United States Attorney

                                             By       /s/ Jessica R. Sarff
                                                      Jessica R. Sarff
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                                    Certificate of Service

       The undersigned hereby certifies that a copy of the foregoing was delivered on March 31,
2021, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.


                                           /s/ Jessica R. Sarff
                                           Jessica R. Sarff
                                           Assistant United States Attorney




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